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IN THE UNITED STATES DISTRICT COURT
_FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *

v. * CRIMINAL NO. JIKB-21-0458
ELIAS NICK COSTIANES, JR., *
Defendant. *
* * ve ze x * * x x * *
MEMORANDUM

Currently pending before the Court is Defendant Elias Costianes’ Motion to Dismiss,
which seeks to dismiss Count Nine of the Superseding Indictment. (ECF No. 66.) Count Nine of
the Superseding Indictment charges Defendant with possession of a firearm and ammunition by
an unlawful user of or addict to any controlled substance in violation of 18 U.S.C. § 922(g)(3).
(ECF No. 34.) Section 922(g)(3) makes it unlawful for any person “who is an unlawful user of or
addicted to any controlled substance” “to ship or transport in interstate or foreign commerce, or
possess in or affecting commerce, any firearm or ammunition; or to receive any firearm or
ammunition which has been shipped or transported in interstate or foreign commerce.” Defendant
argues that Count Nine should be dismissed for two reasons: (1) § 922(g)(3) is unconstitutionally
vague and (2) § 922(g)(3) is unconstitutional following the Supreme Court’s decision in New York
State Rifle & Pistol Ass’n v. Bruen, 142 §. Ct. 2111 (2022). (See generally ECF No. 66.) For the
reasons below, the Court will deny Defendant’s Motion.

J. Vagueness Challenge
Defendant first argues that 18 U.S.C. § 922(g)(3) is void for vagueness. (See ECF No. 66

at 2-5.) The Fourth Circuit has long held that “ijn criminal cases .. . ‘if a law clearly prohibits a

 
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defendant’s conduct, the defendant cannot challenge, and a court cannot examine, whether the law
may be vague for other hypothetical defendants.’” United States v. Hasson, 26 F.4th 610, 616-17
(4th Cir.) (quoting United States v. Hosford, 843 F.3d 161, 170 (4th Cir. 2016)), cert. denied, 143
S. Ct. 310 (2022). With respect to § 922(g)(3), the Fourth Circuit has explained that, “[t]o sustain
a conviction, the government must prove that the defendant’s drug use was ‘sufficiently consistent,
prolonged, and close in time to his gun possession to put him on notice that he qualified as an
unlawful user’ under the terms of the statute.” United States v. Sperling, 400 F. App’x 765, 767
(4th Cir. 2010) (quoting United States y. Purdy, 264 F.3d 809, 812 (9th Cir. 2001)).

Defendant argues that § 922(g)(3) is vague on its face. He cites Johnson v. United States,
576 U.S. 591 (2015) for the proposition that “[t]he fact that the law may be applied to some
possible conduct does not mean that a law cannot be found unconstitutional on its face.” (ECF
No. 66 at 3.) He asserts that “[t]herefore, the Defendant does not have to show that the statute is
vague as applied to his case for this Court to entertain a facial challenge.” (/d.)

However, the Fourth Circuit recently rejected this very argument. In a case challenging
the same statutory provision at issue here—§ 922(g)(3)—the Fourth Circuit “conclude[d] that
Johnson and [Sessions v. Dimaya, 138 S. Ct. 1204 (2018)] ‘did not alter the general rule that a
defendant whose conduct is clearly prohibited by a statute cannot be the one to make a facial
vagueness challenge.’” Hasson, 26 F.4th at 620-21 (4th Cir. 2022) (quoting United States v. Cook,
970 F.3d 866, 877 (7th Cir. 2020)). In Hasson, the defendant “d[id] not dispute the district court’s
holding that his conduct f[ell] squarely within the confines of Section 922(g)(3).” Jd. at 616
(alterations, quotations, and citations omitted). The Fourth Circuit concluded that such
“abandonment doom[ed] [the defendant’s] vagueness challenge[,]” explaining that:

The Supreme Court and this Court have repeatedly held that we must “consider
whether a statute is vague as applied to the particular facts at issue, for ‘[a] plaintiff

 
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who engages in some conduct that is clearly proscribed cannot complain of the
vagueness of the law as applied to the conduct of others.”

Id. (emphasis added) (quoting Holder v. Humanitarian L. Project, 561 U.S. 1, 18-19 (2010)).
Here, Defendant does not argue that the statute is vague as applied to the particular facts
of his case. Rather, as noted above, he argues that the statute is vague on its face and that he “does
not have to show that the statute is vague as applied to his case[.]” (ECF No. 66 at 3.) Hasson
forecloses this argument. Accordingly, the Motion will be denied on this basis.
Further, because the question of whether Defendant’s conduct is “clearly proscribed” by
§ 922(g)(3) ultimately depends on the evidence the Government will present at trial, several courts
have held that this type of pre-trial vagueness challenge is premature. See, e.g., United States v.
Turner, 842 F.3d 602, 605 (8th Cir. 2016) (holding that “the district court could not rule on [the
defendant’s] as applied constitutional challenge without resolving factual issues related to his
alleged offense, such as the extent of his drug use, and therefore the court should have deferred
ruling until trial”); United States v. Van Jackson, Crim. No. 18-15-AT-JKL-3, 2018 WL 6421882,
at *3 (N.D. Ga. Sept. 5, 2018) (collecting cases and explaining that “courts across the country have
held that resolution of a pretrial void-for-vagueness challenge[] to § 922(g)(3) should be deferred
until trial”), report and recommendation adopted, Crim. No. 18-0015-AT-3, 2018 WL 6415044
(N.D. Ga. Dec. 6, 2018).! Therefore, although the Motion should be denied pursuant to Hasson
because the Defendant does not argue that the law is vague as applied to the facts of his case, to

the extent that Defendant sought to so argue, a final determination of that tssue is premature.

 

i This conclusion comports with Federal Rule of Criminal Procedure 12(b)(3), which permits criminal
defendants to “raise by pretrial motion any defense, objection, or request that the court can determine without a trial
on the merits.” (emphasis added). Here, whether § 922(g)(3) is vague as applied to the Defendant would depend on
facts that will presumably be developed at trial. See United States v. Odom, 721 F. App’x 254, 255 (4th Cir. 2018)
(“A district court may dismiss an indictment under Rule 12 where there is an infirmity of law in the prosecution; a
court may not dismiss an indictment, however, on a determination of facts that should have been developed at trial.”
(citation and quotations omitted)).

 

 
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IL. Bruen Challenge

Defendant next argues that § 922(¢)(3) “is not consistent with the text, history, and tradition
of firearm regulation in the United States and, consequently, falls under Bruen.” (ECF No. 66 at
6.) Defendant’s Bruen challenge fails and the Motion will be denied.

The Second Amendment provides that “[a] well regulated Militia, being necessary to the
security of a free State, the right of the people to keep and bear Arms, shall not be infringed.” U.S.
ConsT. amend. II. In District of Columbia v. Heller, the Supreme Court discussed the “individual
right to keep and bear arms” but recognized that “[l]ike most rights, the right secured by the Second
Amendment is not unlimited.” 554 U.S. 570, 595, 626 (2008). The Court explained that the
Second Amendment, “surely elevates above all other interests the right of law-abiding, responsible
citizens to use arms in defense of hearth and home,” but noted that “nothing in [the] opinion should
be taken to cast doubt on longstanding prohibitions on the possession of firearms by felons and the
mentally ill.” Jd. at 626, 635.

After Heiler and prior to the recent Bruen decision, federal courts analyzed firearms laws
using a means-end analysis to determine whether the government interest in the regulation was
sufficient to overcome the burden the law placed on one’s Second Amendment right. See, eg.,
United States v. Carter, 669 F.3d 411, 416 (4th Cir. 2012) (describing the two part test to evaluate
statutes under the Second Amendment: (1) “we inquire whether the statute in question imposes a
burden on conduct falling within the scope of the Second Amendment’s guarantee” and (2) “if the
statute burdens such protected conduct, we apply an appropriate form of means-end scrutiny”
(citation and quotations omitted)).

In Bruen, the Supreme Court rejected this means-end analysis, and provided the following

methodology for reviewing Second Amendment challenges:

 
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In keeping with Helier, we hold that when the Second Amendment’s plain text
covers an individual’s conduct, the Constitution presumptively protects that
conduct. To justify its regulation, the government may not simply posit that the
regulation promotes an important interest. Rather, the government must
demonstrate that the regulation is consistent with this Nation’s historical tradition
of firearm regulation. Only if a firearm regulation is consistent with this Nation’s
historical tradition may a court conclude that the individual’s conduct falls outside
the Second Amendment’s “unqualified command.”

Bruen, 142 S. Ct. at 2126 (quoting Konigsberg v. State Bar of Cal., 366 U.S. 36, 50, n. 10 (1961)).
Thus, courts apply a two-prong test pursuant to Bruen. As Judge Hollander recently explained:
A court must first determine whether “the Second Amendment’s plain text covers
an individual’s conduct.” Bruen, 142 S. Ct. at 2126. If it does not, the analysis
ends, and the government’s regulation is valid. However, if the conduct at issue is
covered by the Amendment’s text, the conduct is presumed protected, and the
government must then demonstrate that the regulation “is consistent with this
Nation’s historical tradition of firearm regulation.” Jd. at 2130. Only if a firearm
regulation is consistent with this Nation’s historical tradition[] may a court
conclude that the individual’s conduct falls outside the protection of the Second
Amendment. Jd.
United States v. Jackson, Crim. No. ELH-22-141, 2023 WL 2242873, at *4 (D. Md. Feb, 27, 2023).
The Government explains that “[i]Jn much post-Bruen litigation, the government has taken
the position that defendants who are similarly situated to this Defendant cannot satisfy the first
step of the Bruen test because they are not ‘law abiding’ citizens to whom Second Amendment
rights are afforded.” (ECF No. 67 at 8.) The Government argues that, even assuming that
Defendant is “potentially entitled to Second Amendment protections” (i.e., even if the challenge
survives the first step of the Bruen analysis), “the Defendant’s motion fails at the second step of
the Bruen analysis and should, therefore, be denied.” (/d. at 9.) The Court agrees.
A. Bruen Step One
With respect to the first step of the analysis, whether the plain text of the Second

Amendment covers the conduct issue, “the Court must determine whether Defendant, presumed

for this motion to be an unlawful drug user as prohibited under § 922(g)(3), is among those

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protected by the Second Amendment.” United States v. Posey, Crim. No, 2:22-83 JD, 2023 WL
1869095, at *5 (N.D. Ind. Feb. 9, 2023), Defendant does not address the first step of the Bruen
analysis, arguing only that § 922(¢)(3) “is not consistent with the text, history, and tradition of |
firearm regulation in the United States.” (ECF No. 66 at 6.) The Government likewise focuses its
briefing on the second prong of the Bruen analysis. (ECF No. 67 at 8-20.)

Courts are divided on “whether the Second Amendment protects the right to bear arms for
all, or rather, only the rights of law-abiding citizens.” United States v. Black, Crim. No. 22-133-
01, 2023 WL 122920, at *3 (W.D. La. Jan. 6, 2023); compare id. at *4 (“The majority of courts
have concluded that the right extends only to law-abiding citizens.”), with United States v. Le, No.
423-00014-SHL-HCA, 2023 WL 3016297, at *4 (S.D. Iowa Apr. 11, 2023) (“Of the courts to have
decided the issue directly, most appear to have concluded that ‘the people’ in the Second
Amendment refers to all citizens, and thus any citizen who possesses a firearm of a type in common
use has satisfied Bruen’s first step.”).

The Court agrees with those courts that have concluded that the Second Amendment only
covers “law abiding” citizens. Indeed, in Heller, the Supreme Court explained that the Second
Amendment “elevates above all other interests the right of law-abiding, responsible citizens to use
arms in defense of hearth and home.” Heller, 554 U.S. at 635 (emphasis added). Likewise, the
Supreme Court in Bruen described the right conferred by the Second Amendment as one belonging
to “law-abiding citizens.” See, ¢.g., Bruen, 142 S. Ct. at 2134 (“It is undisputed that petitioners
Koch and Nash—two ordinary, law-abiding, adult citizens—are part of ‘the people’ whom the
Second Amendment protects.”); Posey, 2023 WL 1869095, at *6 n.5 (“Bruen used the phrase ‘law-
abiding citizen’ no fewer than fourteen times in describing the scope of the Second Amendment

right.”); see also Jackson, 2023 WL 2242873, at *5—6 (explaining that Heller, Bruen, and Fourth
 

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Circuit precedent describe rights under the Second Amendment as extending only to law-abiding
citizens).

Further, the Court agrees with those courts that have concluded that conduct prohibited by
§ 922(¢)(3) is not covered by the plain text of the Second Amendment because it only limits
firearm possession for individuals engaged in unlawful conduct. See, e.g, United States v.
Sanchez, Crim. No. W-21-00213-ADA, 2022 WL 17815116, at *3 (W.D. Tex. Dec. 19, 2022)
(finding that “Defendant’s conduct as a user of unlawful drugs under Section 922(g)(3) is not
covered by the plain text of the Second Amendment” and that “the language of Section 922(g)(3)
limits only persons that are not law-abiding from obtaining firearms and thus does not cover
conduct protected by the Second Amendment”); United States v. Randall, Crim. No. 422-00099-
SMR-HCA-3, 2023 WL 3171609, at *3 (S.D. Iowa Feb. 14, 2023) (concluding that “individuals
who are not law-abiding are not entitled to the Second Amendment’s protection” and that “18
U.S.C. § 922(¢)(3) criminalizes conduct not protected by the Second Amendment”).

However, the Court need not definitively resolve this question here, as an analysis under
the second prong of Bruen confirms that § 922(g)(3) is constitutional.

B. Bruen Step Two

The Court finds that the Government has met its burden of demonstrating that § 922(g)(3)
is consistent with this country’s historical tradition of firearm regulation. As the Supreme Court
explained, “th[e] historical inquiry that courts must conduct will often involve reasoning by
analogy” and “determining whether a historical regulation is a proper analogue for a distinctly
modern firearm regulation requires a determination of whether the two regulations are ‘relevantly
similar.”” Bruen, 142 S. Ct. at 2132. The Court did'not provide an “exhaustive survey of the

features that render regulations relevantly similar” but identified “two metrics: how and why the
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regulations burden a law-abiding citizen’s right to armed self-defense.” Id.

The Government has pointed to the “broad tradition” of “limiting guns to responsible, law-
abiding, mentally competent citizens” and to “restrictions against felons, the mentally ill, and the
intoxicated.” (ECF No. 67 at 11.) For instance, the Government points to Heller’s discussion of
the longstanding prohibitions on the possession of firearms by felons and the mentally ill. (/d. at
11-12 (citing Heller, 554 U.S. at 626)); see also United States v. Daniels, 610 F. Supp. 3d 892,
895 (S.D. Miss. 2022) (explaining that “Heller explicitly cautioned readers not to ‘doubt. . .
longstanding prohibitions on the possession of firearms by felons and the mentally ill.”” (quoting
Heller, 554 U.S. at 626)). The Government also points to “state laws [that] have also historically
prohibited carrying a firearm while under the influence of alcohol.” (ECF No. 67 at 13); see also
Posey, 2023 WL 1869095, at *8 (citing to historical statutes restricting gun possession by the
intoxicated and finding that “these additional historical examples, of statutes regulating firearm
possession and use by individuals using intoxicating substances” reflects the historical support for
§ 922(g)(3)). The Government explains that “the justification for all three prohibitions has
historically been the same: felons, the mentally ill, and the intoxicated are presumptively risky
persons who pose a danger to public safety if armed.” (ECF No. 67 at 13.)

The Government has shown that § 922(¢)(3) is “relevantly similar” to historical regulations
aimed at preventing potentially dangerous persons from possessing and using firearms, such as
individuals convicted of felonies, individuals suffering from mental illness, and intoxicated
individuals. The Government has shown that § 922(g)(3) meets the “two metrics” identified by
the Court in Bruen. As the Government argues, “the [historical] restrictions impose a comparable
burden: they categorically prohibit certain persons from possessing firearms” and “they all proceed

under a comparable justification: they protect public safety by keeping guns out of the hands of
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presumptively dangerous persons, namely, lawbreakers and persons with impaired judgment or
mental ability.” (ECF No. 67 at 14.)

In reaching its conclusion that the Government has met its burden, the Court finds
persuasive and agrees with the discussion of the historical tradition of firearm regulation in various
district court cases that have found § 922(g)(3) constitutional post-Bruen. For example, a district
court in the Northern District of Indiana concluded that:

The historical record shows a tradition of regulating firearm possession by

individuals using intoxicating substances which is analogous to § 922(g)(3).

Therefore, the Court finds that Government has met its burden and concludes that

§ 922(g)(3) is constitutional. In the alternative, the Court would also uphold §

922(g)(3) as it is analogous to historical regulations preventing dangerous persons,

such as felons and the mentally ill, from possessing firearms.

* Posey, 2023 WL 1869095, at *9; see also Daniels, 610 F. Supp. 3d at 895-97 (finding § 922(g)(3)
consistent with historical firearms regulation in the United States); United States v. Seiwert, Crim.
No. 20-443, 2022 WL 4534605, at *2 (N.D. IIL. Sept. 28, 2022) (“§ 922(g)(3) is relevantly similar
to regulations aimed at preventing dangerous or untrustworthy persons from possessing and using
firearms, such as individuals convicted of felonies or suffering from mental illness”); Randall,
2023 WL 3171609, at *3 (“The historical analogues to 18 U.S.C. § 922(g)(3), in the form of laws
that prohibited possession of firearms by felons and alcoholics, are sufficient to justify the law
under Bruen.”); United States v. Lewis, Crim. No. 22-368-F, 2023 WL 187582, at *4 (W.D. Okla.
Jan. 13, 2023) (“The court concludes that § 922(g)(3) is relevantly similar to regulations aimed at
preventing dangerous or untrustworthy persons from possessing and using firearms, such as
individuals convicted of felonies or suffering from mental illness, or individuals who are
intoxicated.” (citations and quotations omitted).)

Further, although it was decided prior to Bruen, the Court, like other district courts, also

finds persuasive the historical analysis in United States v. Yancey, 621 F.3d 681, 686 (7th Cir.
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2010). See Daniels, 610 F. Supp. 3d at 897 (observing “that the analysis in Yancey demonstrates
the historical attestation demanded by the Bruen framework”); see also Posey, 2023 WL 1869095,
at *8 (“Yancey’s historical analysis, of state law disarming alcoholics and habitual drug users, at
the first step of the old test was recognized as ‘broadly consistent with Heller’ and remains valid.”
(citing Bruen, 142 S. Ct. at 2127-29).) In that case, the Seventh Circuit analyzed the historical
underpinnings of § 922(g)(3), and explained that “[k]eeping guns away from habitual drug abusers
is analogous to disarming felons”; that “most scholars of the Second Amendment agree that the
right to bear arms was tied to the concept of a virtuous citizenry and that, accordingly, the
government could disarm unvirtuous citizens”; and that “habitual drug abusers, like the mentally
ill, are more likely to have difficulty exercising self-control, making it dangerous for them to
possess deadly firearms.” Yancey, 621 F.3d at 683-87.

Accordingly, the Court finds that Defendant’s Bruen challenge fails. In so concluding, the
Court joins the majority of courts that have held § 922(g)(3) constitutional in the wake of Bruen.*

DI. Conclusion

For the foregoing reasons, Defendant’s Motion (ECF No. 66) will be denied.

 

2 Compare Daniels, 610 F. Supp. 3d 892 (holding § 922(g)(3) constitutional after Bruen); Posey, 2023 WL
1869095 (same); Seiwert, 2022 WL 4534605 (same); Le, 2023 WL 3016297 (same); Randall, 2023 WL 3171609
(same); Black, 2023 WL 122920 (same); Sanchez, 2022 WL 17815116 (same); Gilpin v, United States, Crim. No, 20-
04050-01-C-RK, 2023 WL 387049 (W.D. Mo. Jan. 3, 2023) (same); United States v. Sternnerson, Crim. No. 22-139-
BLG-SPW, 2023 WL 2214351 (D, Mont. Feb. 24, 2023) (same); United States v. Harper, Crim. No. 21-4085-LTS-
KEM, 2022 WL 8288406 (N.D. Iowa Sept. 9, 2022) (same), report and recommendation adopted, Crim, No, 21-4085-
LTS, 2022 WL 4595060 (N.D. Iowa Sept. 30, 2022); Lewis, 2023 WL 187582 (same), with United States v. Connelly,
Crim. No. EP-22-229(2)-KC, 2023 WL 2806324 (W.D. Tex. Apr. 6, 2023) (finding § 922(g)(3) unconstitutional after
Bruen); United States v. Harrison, Crim. No. 22-00328-PRW, 2023 WL 1771138 (W.D. Okla. Feb. 3, 2023) (same).

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DATED this _/6 day of May, 2023.

BY THE COURT:

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James K. Bredar
Chief Judge

 

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